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                 4                                UNITED STATES DISTRICT COURT
                 5                                        DISTRICT OF NEVADA
                 6                                                   ***
                 7     ANTONIO F. POLVOROSA,                                 Case No. 2:16-CV-1508 JCM (CWH)
                 8                                           Plaintiff(s),                       ORDER
                 9            v.
               10      ALLIED COLLECTION SERVICE, INC. et al.,
               11                                          Defendant(s).
               12
               13            Presently before the court is the matter of Polvorosa v. Allied Collection Service, Inc. et al,
               14     case no. 2:16-cv-01508-JCM-CWH.
               15            On January 24, 2018, the clerk of court filed a notice of intent to dismiss pursuant to Local
               16     Rule 41-1, indicating that if no action was taken in the case within 30 days, the court would enter
               17     an order of dismissal for want of prosecution. (ECF No. 54). Since that date, no action has been
               18     taken in the case.
               19            Accordingly,
               20            IT IS HEREBY ORDERED that plaintiff’s claims against defendants in the matter of
               21     Polvorosa v. Allied Collection Service, Inc. et al, case no. 2:16-cv-01508-JCM-CWH, be, and the
               22     same hereby are, DISMISSED without prejudice.
               23            The clerk shall enter judgment accordingly and close the case.
               24            DATED March 15, 2018.
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               26                                                   UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
